             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )     No. 2:08-CR-038
                                              )
SATURNINO ALCARAZ-MORFIN                      )


                                    ORDER


            The government’s motion to dismiss as to defendant Saturnino Alcaraz-Morfin

only [doc. 611] is GRANTED for the reasons provided therein.



                                              ENTER:



                                                    s/ Leon Jordan
                                              United States District Judge




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